 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 1 of 11 PageID #:1



                     IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 CRUM AND FORSTER SPECIALTY                       )
 INSURANCE COMPANY,                               )
                                                  )
                         Plaintiff,               )
                                                  )   Case No.:
 v.                                               )   Honorable
                                                  )
 ST MARYS PETROLEUM INC. and                      )
 BETTY PRYOR,                                     )
                                                  )
                         Defendants.              )
                                                  )
                                                  )

                      COMPLAINT FOR DECLARATORY JUDGMENT

          Plaintiff, Crum and Forster Specialty Insurance Company (“CFSIC”), by and through its

undersigned counsel, as and for its Complaint for Declaratory Judgment against Defendants St

Marys Petroleum Inc. (“St Marys”) and Betty Pryor, states as follows:

                                      NATURE OF THE ACTION

          1.     In this action, CFSIC seeks a determination of its rights and obligations under an

insurance policy issued to St Marys in connection with an Underlying Action (defined herein) filed

by Betty Pryor, which asserts certain claims against St Marys.

          2.     The Underlying Action (defined herein) is pending in the Circuit Court of Cook

County, Illinois.

          3.     CFSIC issued a Commercial General Liability Policy (“Policy”) to St Marys as

described more fully below.

          4.     Defendant St Marys tendered claims asserted against it in the Underlying Action to

CFSIC for a defense and indemnity under the Policy.

          5.     The scope of coverage available to St Marys in connection with the claims asserted

against it in the Underlying Action is governed by the terms, conditions, and exclusions of the

Policy.

                                            Page 1 of 11
 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 2 of 11 PageID #:2



                                  JURISDICTION AND VENUE

        6.      Jurisdiction in this matter is based upon diversity of citizenship pursuant to 28

U.S.C. § 1332(a)(1).

        7.      Plaintiff CFSIC is a corporation organized under the laws of Delaware. It has

a main administrative office in Morristown, New Jersey, and its statutory home office is in

Delaware. At all relevant times, Plaintiff CFSIC was eligible to conduct business in the State of

Illinois.

        8.      Defendant St Marys is a corporation organized under the laws of Indiana with its

principal place of business in Des Plaines, Illinois.

        9.      Defendant Betty Pryor is a resident of Cook County, Illinois and a citizen of the

State of Illinois. Plaintiff CFSIC does not assert any claim against Defendant Betty Pryor in the

Complaint and she has been named as a defendant in this action solely as a necessary and

indispensable party.

        10.     Diversity jurisdiction exists because: (a) there is complete diversity of citizenship

between Plaintiff CFSIC on the one hand, and Defendants St Marys and Ms. Pryor on the other

hand; and (b) the amount in controversy, including the potential costs of defending and indemnify

TSI with regard to the Underlying Action exceeds $75,000.

        11.     Venue is appropriate under 28 U.S.C. § 1391(b)(2), as substantial part of the events

or omissions giving rise to the Underlying Action occurred in this District, and the Policy was

issued and delivered in this District.

        12.     An actual justiciable controversy exists between CFSIC on the one hand and St

Marys and Ms. Pryor on the other hand, and by the terms and provisions of Rule 57 of the Federal

Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202, this Court is invested with the power

to declare the rights and liability of the parties hereto and to grant such relief as it deems necessary

and proper.


                                             Page 2 of 11
 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 3 of 11 PageID #:3



                                UNDERLYING COMPLAINT

       13.     On November 29, 2021, Betty Pryor (“Ms. Pryor”) filed a third-amended complaint

in a lawsuit styled Betty Pryor v. St Marys Petroleum, et al., Case No. 2021-L-002967, in the

Circuit Court of Cook County, Illinois (the “Underlying Action”).

       14.     The third amended complaint (the “Complaint”) in the Underlying Action generally

alleges that, on or about December 5, 2019, Ms. Pryor suffered injuries after she tripped and fell

over a box at a Clark Gas Station located at 1952 West Garfield Boulevard, Chicago, Illinois (the

“Gas Station”). A true and correct copy of the Complaint is attached hereto as Exhibit A, ¶ 1.

       15.     The Complaint alleges that St Marys owned, operated, managed, maintained,

occupied, and/or controlled the Gas Station. Ex. A, ¶ 4.

       16.     The Complaint asserts two counts against St Marys.

       17.     Count I of the Underlying Complaint, entitled “Negligence Against St Marys

Petroleum,” alleges that, on or about December 5, 2019, the Gas Station was open to members of

the public, including Ms. Pryor. Ex. A, ¶ 14.

       18.     Count I of the Underlying Complaint further alleges that a condition existed at the

Gas Station wherein cut and open boxes were left on the floor between the aisles in an area

accessible to the public, including Ms. Pryor. Ex. A, ¶ 16.

       19.     Count I further alleges that no warning signs or other devices were provided about

the dangerous condition. Ex. A, ¶ 19.

       20.     Count I of the Underlying Complaint alleges that, on or about December 5, 2019,

Ms. Pryor was shopping in the Gas Station when she tripped and fell on a cut box that was left on

the floor between the shop aisles. Ex. A, ¶ 22.




                                           Page 3 of 11
 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 4 of 11 PageID #:4



       21.     Count I of the Underlying Complaint further alleges that St Marys was guilty of

one or more of the following careless and negligent acts or omissions:

                                             ***

       b. Negligently and carelessly created, or caused to exist a cut box on the floor
          between the aisles of the Gas Station shop that created a dangerous condition
          on the premises of the Gas Station;

       c. Negligently and carelessly failed to properly inspect the premises of the Gas
          Station, especially the place where the fall occurred, for cut boxes and other
          fall hazards;

       d. Negligently and carelessly failed to remove the cut box from the floor which
          created dangerous and unsafe condition on the premises of the Gas Station;

       e. Negligently and carelessly failed to warn customers of a cut box and/or other
          fall hazards that existed on the premises of the Gas Station;

       f. Negligently and carelessly failed to block or barricade or otherwise prevent the
          Plaintiff from coming into contact with the cut box which was on the floor
          between the aisles in the Gas Station shop;

       g. Negligently and carelessly failed to train it employees or agents regarding
          discovering and removing cut boxes and other fall hazards from the premises
          of the Gas Station;

       h. Negligently and carelessly failed to have an on-going employee/agent
          educational program of surveillance regarding a cut box and other hazardous
          fall conditions on the Gas Station premises;

       i. Negligently and carelessly failed to provide a reasonably safe ground on the
          Gas Station; or

       j. Was otherwise careless or negligent.

Ex. A, ¶ 24.

       22.     Count I of the Underlying Complaint further alleges that, as a direct and proximate

result of one or more of the above-referenced careless and negligent acts or omissions, Ms. Pryor

was seriously and permanently injured and will continue to suffer damages of a personal and

pecuniary. Ex. A, ¶ 25.




                                           Page 4 of 11
 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 5 of 11 PageID #:5



        23.    Count II of the Underlying Complaint, entitled “Statutory Premises Liability

Against St Marys Petroleum,” alleges that, pursuant to the Premises Liability Act, owners and

occupiers of a premises owe a duty of reasonable care to invitees and licensees. Ex. A, ¶ 27.

        24.    Count II of the Underlying Complaint further alleges that St Marys was the

owner/occupier of the Gas Station and owed a duty to the persons lawfully present on the premises

of the Gas Station, including Ms. Pryor, to exercise reasonable care and caution to own, operate

and/or control the Gas Station premises in a reasonably safe condition. Ex. A, ¶ 28.

        25.    Count II of the Underlying Complaint further alleges that St Marys committed the

same negligent acts or omissions that are alleged in Count I of the Underlying Complaint. Ex. A,

¶ 29.

        26.    Count II of the Underlying Complaint further alleges that, as a direct and proximate

result of one or more of the above-referenced careless and negligent acts or omissions, Ms. Pryor

was seriously and permanently injured and will continue to suffer damages of a personal and

pecuniary. Ex. A, ¶ 30.

                                            POLICY

        27.    Crum & Forster Specialty Insurance Company issued Environment Package Policy

No. EPK-126142 (the “Policy”), effective March 1, 2019 to June 4, 2019, to named insured St.

Mary’s Petroleum Inc. A true and correct copy of the Policy is attached hereto as Exhibit B.

        28.    The Policy provides Commercial General Liability and Contractors Pollution

Liability coverages.

        29.    Since there are no allegations in the Underlying Complaint that St Marys is

obligated to pay “cleanup costs” or that a “pollution condition” exists, the Contractors Pollution

Liability coverage part of the Policy does not apply to the claims asserted against St Marys in the

Underlying Action.




                                           Page 5 of 11
 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 6 of 11 PageID #:6



        30.     The Policy provides Commercial General Liability (“CGL”) coverage with a $1

million Each Occurrence Limit and $2 million General Aggregate Limit, subject to a $5,000 per

occurrence deductible. Ex. B, CFSIC0002; CFSIC0009

        31.     Section I – Insuring Agreement of the CGL Coverage Part of the Policy provides,

in pertinent part, as follows:

        SECTION I - INSURING AGREEMENTS
        1.      Insuring Agreement A - Bodily Injury And Property Damage


                a.      We will pay, in excess of the Deductible shown in the Declarations,
                        those sums that the insured becomes legally obligated to pay as
                        "damages" for "bodily injury" or "property damage" to which this
                        insurance applies. We may, at our discretion, investigate any
                        "occurrence" and settle any "claim" or "suit" that may result. But
                        the amount we will pay for "damages" is limited as described in
                        Section IV - Limits Of Insurance And Deductible within the
                        Common Provisions.
                        No other obligation or liability to pay sums or perform acts or
                        services is covered unless explicitly provided for under Section I -
                        Defense or Section II - Defense Expenses within the Common
                        Provisions.
                b.      This insurance applies to "bodily injury" and "property damage"
                        only if all of the following conditions are met:
                        (1)      Before the "policy period", no insured had knowledge of any
                                 "occurrence" that could reasonably give rise to a "claim"
                                 under this Policy;
                        (2)      Neither the "claim" for that "bodily injury" or "property
                                 damage", nor the "occurrence" resulting in that "bodily
                                 injury" or "property damage" were reported under any
                                 policy in effect before the "policy period" or disclosed in the
                                 application for this Policy;
                        (3)      No fact, incident or circumstance involving an "occurrence"
                                 or offense that reasonably would have resulted in a "claim"
                                 for that "bodily injury" or "property damage" was reported
                                 under any policy in effect before the "policy period" or
                                 disclosed in the application for this Policy;
                        (4)      That "bodily injury" or "property damage" is caused by an
                                 "occurrence" that takes place in the "coverage territory";



                                              Page 6 of 11
 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 7 of 11 PageID #:7



                      (5)     That "bodily injury" or "property damage" first occurs
                              during the "policy period"; and
                      (6)     A "claim" for "damages" for that "bodily injury" or
                              "property damage" is made against any insured and reported
                              to us in accordance with the provisions set forth in Section
                              VI Common Conditions, 5. Duties In The Event Of A Claim
                              Or Suit within the Common Provisions.

Ex. B, CFSIC0043-44.

       32.    The Policy contains Common Provisions which apply to the CGL coverage part.

Section VI-Common Conditions of the Common Provisions of the Policy includes, in pertinent

part, the following Cancellation and Nonrenewal provision:

                                     ***

       2.     Cancellation And Nonrenewal

                 The following provisions regarding cancellation and nonrenewal apply
                 except to the extent that they, or any of them, are inconsistent with state
                 laws or regulations applicable to surplus lines insurers, in which event,
                 they will be deemed amended to be in conformity with such laws or
                 regulations. This Policy may be cancelled by the First Named Insured by
                 surrender thereof to us or by mailing to us written notice stating when
                 thereafter the cancellation shall be effective. We may cancel or decide
                 not to renew this Policy by mailing a written notice to the First Named
                 Insured at the address shown in the Declarations of this Policy. The
                 mailing of notice of cancellation shall be sufficient notice, and the
                 effective date of cancellation stated in such notice shall be deemed to
                 constitute the end of the "policy period". The effective dates of such
                 cancellation shall be not less than thirty (30) days (ten (10) days for non-
                 payment of premium) following mailing of the notice of cancellation to
                 the First Named Insured.

                 Hand delivery of such written notice either by the First Named Insured
                 or by us (or by either's designee) shall be equivalent to mailing. If this
                 Policy is issued to comply with any law or regulation that requires notice
                 of cancellation or nonrenewal to any governmental body, cancellation or
                 nonrenewal shall not be effective until the required notice has been
                 provided by you or us.

Ex. B, CFSIC0025-26.

                                           ***




                                           Page 7 of 11
 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 8 of 11 PageID #:8



          33.    Section VII – Common Definitions of the Common Provisions of the Policy

provides, in relevant part, as follows:

                                            ***

           4.      "Bodily injury" means physical injury, sickness or disease, sustained by
                   a person, including mental anguish and death resulting from any of these
                   at any time.
                                            ***
           28.     "Policy period" means the period shown in the Declarations, unless
                   cancelled, in which event, the "policy period" ends on the date that such
                   cancellation is effective.
                                            ***
Ex. B, CFSIC0032; CFSIC0038.
                              CANCELLATION OF THE POLICY

          34.    Due to a failure in negotiations between CFSIC and St Marys, CFSIC added a

Cancellation Endorsement to the Policy indicating the Policy was canceled with an effective date

of June 4, 2019. A true and correct copy of the Cancellation Endorsement is attached hereto as

Exhibit C.

          35.    St Marys was provided with notice of the cancellation of the Policy in a June 17,

2019 email. A true and correct copy of the June 17, 2019 email is attached hereto as Exhibit D.

                                          THIS DISPUTE

          36.    St Marys has sought a defense and indemnity from CFSIC under the Policy in

connection with the claims asserted against it in the Underlying Action.

          37.    CFSIC has determined through its coverage investigation that it owes no obligation

to defend or indemnify St Marys in connection with the claims asserted against it in the Underlying

Action.

          38.    CFSIC has advised St Marys in writing that it disclaims any obligation under the

Policy to provide a defense and/or indemnity to St Marys in connection with the claims asserted

against it in the Underlying Action.


                                            Page 8 of 11
 Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 9 of 11 PageID #:9



        39.     CFSIC now brings this action to obtain a judicial declaration that it owes no duties

under the Policy to defend or indemnify St Marys in connection with the claims asserted against it

in the Underlying Action.

                                           COUNT I
                            No Duty to Defend or Indemnify St Marys

        40.     CFSIC incorporates by reference herein paragraphs 1 through 39 as if the same

were fully set forth at length.

        41.     The Insuring Agreement of the CGL Coverage Part of the Policy provides that

CFSIC will pay “those sums that the insured becomes legally obligated to pay as ‘damages’ for

‘bodily injury’ . . . to which this insurance applies.” Ex. B, CFSIC0043.

        42.     The Policy defines “bodily injury” to mean “physical injury, sickness or disease

sustained by a person, including mental anguish and death resulting from any of these at any time.”

Ex. B, CFSIC0032.

        43.     The Insuring Agreement of the CGL Coverage Part further provides that the

insurance only applies if the “‘bodily injury’ or ‘property damage’ first occurs during the ‘policy

period.’ . . . .” Ex. B, CFSIC0043.

        44.     The Policy defines “policy period” to mean the “period shown in the Declarations,

unless cancelled, in which event, the ‘policy period’ ends on the date that such cancellation is

effective.” Ex. B, CFSIC0038.

        45.     The Complaint alleges that Ms. Pryor sustained injuries when she tripped and fell

in the Gas Station due to a cut box that was left on the floor between the shop aisles. Ex. A, ¶ 1.

        46.     As a result, the Complaint alleges that Ms. Pryor sustained “bodily injury” as

defined under the Policy.

        47.     However, the allegations of the Complaint do not satisfy the requirements of the

Insuring Agreement of the CGL Coverage Part of the Policy.



                                            Page 9 of 11
Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 10 of 11 PageID #:10



       48.     The Complaint alleges that Ms. Pryor suffered her injuries as a result of an incident

which occurred on or about December 5, 2019. Ex. B, ¶ 14.

       49.     Due to a failure in negotiations between CFSIC and St Marys, the Policy was

cancelled effective June 4, 2019. Exs. C & D.

       50.     Based on the June 4, 2019 cancellation of the Policy, the Complaint alleges that

Ms. Pryor sustained “bodily injury” that occurred outside of the March 1, 2019 to June 4, 2019

“policy period” of the Policy.

       51.     As a result, the Complaint does not allege that Ms. Pryor suffered bodily injury” as

defined in the Policy which first occurred during the “policy period” of the Policy and, therefore,

the claims asserted against St Marys in the Underlying Action do not satisfy the requirements of

the Insuring Agreement of the CGL Coverage Part of the Policy.

       52.     Accordingly, CFSIC disclaims any obligation under the Policy to defend or

indemnify St Marys in connection with the claims asserted against it in the Underlying Action.

                                     PRAYER FOR RELIEF

       Plaintiff Crum and Forster Specialty Insurance Company hereby respectfully request the

entry of an order and judgment in its favor and against Defendants St Marys Petroleum Inc. and

Betty Pryor, declaring as follows:

       a.      This court has jurisdiction over the parties and subject matter of this litigation;

       b.      The Policy does not provide coverage to Defendant St Marys for the claims asserted

against it in the Complaint filed in the Underlying Action;

       c.      CFSIC does not owe a duty under the Policy to defend or reimburse defense costs

incurred by Defendant St Marys in connection with the claims asserted against it in the Complaint

filed in the Underlying Action;

       d.      CFISC does not owe a duty under the Policy to indemnify Defendant St Marys in

connection with the claims asserted against it in the Complaint filed in the Underlying Action;


                                            Page 10 of 11
Case: 1:22-cv-04292 Document #: 1 Filed: 08/15/22 Page 11 of 11 PageID #:11



      e.     CFSIC is entitled to an award of its costs; and

      f.     Such other relief as this Court deems jut and appropriate.

Dated: August 15, 2022
                                    Respectfully Submitted,

                            By:     /s/ James J. Hickey
                                    James J. Hickey, Atty. No. 6198334
                                    Colin B. Willmott, Atty. No. 6317451
                                    James.Hickey@kennedyslaw.com
                                    Colin.Willmott@kennedyslaw.com
                                    KENNEDYS CMK
                                    100 North Riverside Plaza, Suite 2100
                                    Chicago, IL 60606
                                    Phone: (312) 800-5029
                                    Fax: (312) 207-2110

                                    Attorneys for Crum and Forster Specialty
                                    Insurance Company




                                         Page 11 of 11
